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United States Bankruptcy Court for the:

Eastern District of North Carolina [-] AUG 10 2023

Case number (if known): Chapter you are filing under:

1 Chapter 11
C) Chapter 12
O) Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

|

| STEPHANIE J. BUTLER, CLERK
=P | U.S. BANKRUPTCY COURT
apter 7 | EASTERN DISTRIG4 Ghe¢k if this is an

4S Amy
RP

amended filing

12/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The

same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

[PVH weaeeny Yourself

| About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

i4,y¥ full n
| 1 TOME IU seen Gastonia 1921 Land Trust

| Write the name thatis on your Firstname First name
government-issued picture

identification (for example,

| your driver’s license or Middle name Middle name
passport).
: ; Last name Last name
Bring your picture

| , identification to your meeting
| with the trustee.

Suffix (Sr., Jr., fl, Ill)

Suffix (Sr., Jr., Il, Il)

| 2. All other names you

have used in the last 8 First nari First name
years
Middle name Middle name
Include your married or
maiden names and any
assumed, trade names and Eeennatie LEStneng
doing business as names.
First name First name
Do NOT list the name of any
separate legal entity such as - =
a corporation, partnership, or Middle name Nilseereatiee
LLC that is not filing this
petition. Last name Last name
Business name (if applicable) Business name (if applicable)
| Business name (if applicable) Business name (if applicable)
|
3. Only the last 4 digits of
your Social Security — 1 XXX = KK
number or federal OR OR
Individual Taxpayer 9 9
Identification number XX = XX = XX — XX —
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case 23-02274-5-DMW Doci
Gastonia 1921 Land Trust

Debtor 1

First Name

| 4. Your Employer
| Identification Number
(EIN), if any.

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Middle Name

Last Name
About Debtor 1:

EIN”

EIN”

1921 Gastonia rd

Case number (if known)

Number Street

Southport NC 28461
City State ZIP Code
Brunswick

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

156 Painter Lakes rd

Number Street

P.O. Box

Gibsonville NC 27249
City State ZIP Code
Check one:

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

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About Debtor 2 (Spouse Only in a Joint Case):

EIN

EIN”

If Debtor 2 lives at a different address:

Number Street

City State ZIP Code

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street

P.O. Box

City State ZIP Code

Check one:

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() I have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2

Debtor 1

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Gastonia 1921 Land Trust Case number (if known)

First Name Middle Name

Last Name

ca Tell the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

(4 Chapter 7

C) Chapter 11
CL) Chapter 12
C) Chapter 13

4 | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

C) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

U) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

No
UL) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
No
OC) Yes. Debtor Relationship to you
District When Case number, if known.
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY

Wo. Goto line 12.
UL] Yes. Has your landlord obtained an eviction judgment against you?

C1) No. Go to line 12.

C) Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 4 Gastonia 1921 Land Trust Case number (if known)

First Name Middle Name Last Name

ERE report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor (4 No. Go to Part 4.
of any full- or part-time
business? Q) Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
Te ane P Number Street

Name of business, if any

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

City State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

L) Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
Chapter 11 of the choosing to proceed under Subchapter V so that it can set appropriate deadlines. |f you indicate that you
Bankruptcy Code, and are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your

most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or

are you a small business if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor or a debtor as
defined by 11 U.S. C. § No. lamnot filing under Chapter 11.

1182(1)? CI No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in

For a definition of small the Bankruptcy Code.

business debtor, see . ‘ ; inc ¥

11 U.S.C. § 101(51D). QO) Yes. 1am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy

Code, and | do not choose to proceed under Subchapter V of Chapter 11.
OC) Yes. 1am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

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bebtr1 Gastonia 1921 Land Trust Case number (moun,

First Name Middle Name Last Name

ee Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own orhave any [J No

roperty that poses or is . .
property P W Yes. Whatis the hazard? _It will be in forclosure soon

alleged to pose a threat
of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed? Please stop the foreclosure

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building

that needs urgent repairs? .
Where is the property? 1921 Gastonia rd

Number Street
Southport NC 28461
City State ZIP Cade

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 4 Gastonia 1921 Land Trust

First Name Middle Name

Last Name

Case number (if known)

eo Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

1 received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Oi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) tam not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
. deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

U) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CI | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1 am not required to receive a briefing about
credit counseling because of:

O Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

O Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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Gastonia 1921

Debtor 1

Land Trust

Case number (if known).

First Name Middle Name

EE answer These Questions for Reporting Purposes

Last Name

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

1 No. Go to line 16b.
UI Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

1 No. Go to line 16c.
U) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

(No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after es. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

ietewee Sign Below

1-49

01 200-999

C) $500,001-$1 million

Wh no

UO Yes

CI 50-99
CI 100-199

CI $0-$50,000
CJ $50,001-$100,000
 $100,001-$500,000

C) $0-$50,000

CJ $50,001-$100,000
QW $100,001-$500,000
CJ $500,001-$1 million

QO) 1,000-5,000
CI 5,001-10,000
(I 10,001-25,000

CI $1,000,001-$10 million
C) $10,000,001-$50 million
CI $50,000,001-$100 million

CI $100,000,001-$500 million

C) $1,000,001-$10 million

C) $10,000,001-$50 million
(2 $50,000,001-$100 million
C2 $100,000,001-$500 million

() 25,001-50,000

( 50,001-100,000
O More than 100,000

C) $500,000,001-$1 billion
CJ $1,000,000,001-$10 billion
 $10,000,000,001-$50 billion

QO More than $50 billion

C) $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
C) More than $50 billion

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out

this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Cade, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1

x

9/an

(3571.

x

\
Signature of Debtor YX V Tru g¢+ee_ Signature of Debtor 2

wf 9 frmwr}

MM / DD /YYYY

Executed on
MM / DD

Executed on
1YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Gastonia 1 921 Land Trust Case number (if known).

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

UO) No
@ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

U No
Wd Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

W@ No

C) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119)

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cau: e to lose my rights or property if | do not properly handle the case.

x , x

Signature opbepiort ~~ Tr neter_ Signature of Debtor 2

of > 7.
Date sl Ttr 23 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone 4 & ¢ 7 rLY - 66 3 Cell phone
Email address Email address

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Creditor

Rushmore Loan Management services
P.O.Box 514707
Los Angeles, CA 90051

Trustee

LOGS Legal Group
10130 perimeter parkway
Suite 400

Charlotte, NC 28216
704-333-8107
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

Division

IN RE: CASE NO.:

Debtor(s)

CERTIFICATION OF MAILING MATRIX
REQUIRED BY E.D.N.C. LBR 1007-2

I hereby certify under penalty of perjury that the attached list of creditors which has been prepared in the

format required by the clerk is true and accurate to the best of my knowledge and includes all creditors
scheduled in the petition.

Dated:

Trustee

REV. 07/2012
